UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

             - against -                                         ORDER

 ELIJAH POUGH,                                               23 Cr. 204 (PGG)
                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

             Sentencing is adjourned to May 30, 2025, at 2:00 p.m. Defense submissions are

due May 9, 2025. The Government’s sentencing submission is due May 16, 2025.


Dated: April 22, 2025
       New York, New York
                                                       SO ORDERED.


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                                                       Paul G. Gardephe
                                                       United States District Judge
